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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
GONZALO GUISBERT                    )
149 Southdown Road                  )
Edgewater, MD 21036                 )
                                    )                         Civil Action No.: 19-02838-TSC
             Plaintiff,             )
                                    )
                    v.              )
                                    )
WASHINGTON CONVENTION AND           )                         JURY TRIAL DEMANDED
SPORTS AUTHORITY t/a EVENTS DC )
801 Mount Vernon Place NW           )
Washington, DC 20001                )                         February 5, 2020
                                    )
             Defendant.             )
                                    )
____________________________________)


      FIRST AMENDED COMPLAINT FOR EMPLOYMENT DISCRIMINATION
                 BASED ON AGE, RACE and RETALIATION

       Plaintiff Gonzalo Guisbert, by and through his undersigned attorneys, files this

Complaint for declaratory, injunctive and monetary relief against his former employer,

Washington Convention and Sports Authority t/a Events DC, to seek redress for Defendant’s

violations of the Age Discrimination in Employment Act (“ADEA”) 29 U.S.C. § 621 et seq.,

Title VII of the Civil Rights Act, 42 U.S.C. §§ 2000e, et seq. (“Title VII”), and the District of

Columbia Human Rights Act §§ 2-1401 et seq. (“DCHRA”).

                                 JURISDICTION AND VENUE

1. Jurisdiction over this matter arises under 28 U.S.C. § 1331 raising federal questions

    involving Title VII and the ADEA.




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2. This Court maintains subject matter jurisdiction over Plaintiff’s Title VII claim pursuant to

   42 U.S.C. § 2000e-5(f)(3).

3. This Court has jurisdiction over Plaintiff’s ADEA claim pursuant to 29 U.S.C. § 626(c)(1)

   which incorporates Title VII 42 U.S.C. § 2000e.

4. This Court has supplemental jurisdiction over Plaintiff’s claims arising under the laws of the

   District of Columbia and the DCHRA pursuant to 28 U.S.C. § 1367(a) because the claims

   are part of the same case or controversy as those arising under Title VII and the ADEA.

5. This Court is the proper venue pursuant to 28 U.S.C § 1391(b)(2) because all of the events

   and omissions giving rise to Plaintiff’s claims occurred or failed to occur in the District of

   Columbia.

                                           PARTIES

6. At all times relevant to this Complaint, Plaintiff Gonzalo Guisbert (hereinafter “Plaintiff” or

   “Mr. Guisbert”), a Hispanic adult male, born September 19, 1957, and a resident of

   Maryland, was an employee of Defendant Washington Convention and Sports Authority t/a

   Events DC (hereafter “Defendant” or “Events DC”) within the meaning of Title VII of the

   Civil Rights Act of 1964, 42 U.S.C. § 2000e(f), the Age Discrimination in Employment Act,

   29 U.S.C. § 630(f), and District of Columbia Human Relations Act, D.C. Code § 2-1401.02.

7. Defendant Washington Convention and Sports Authority t/a Events DC (hereafter

   “Defendant” or “Events DC”) was Mr. Guisbert’s employer within the meaning of Title VII,

   42 U.S.C. § 2000e(b), the ADEA 29 U.S.C. § 630(b), and the DCHRA, D.C. Code § 2-

   1401.02.

8. At all times relevant to this Complaint, Defendant was and is an independent authority of

   the District of Columbia government and created pursuant to Washington Convention



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   Center Authority and D.C. Sports and Entertainment Commission Merger Amendment Act

   of 2009, D.C. Code § 10-1202.02. At all times relevant to this Complaint, Defendant

   employed Mr. Guisbert in the District of Columbia, including the Washington Convention

   Center, located at 801 Mount Vernon Place NW, Washington, D.C. 20001.

                   EXHAUSTION OF ADMINISTRATIVE REMEDIES

9. Plaintiff exhausted all administrative remedies as required before filing this action.

10. Mr. Guisbert filed a charge of discrimination with the U.S. Equal Employment Opportunity

   Commission (hereinafter “EEOC”) on or about April 10, 2019 and selected “Discrimination

   Based On: (X) Race; (X) Retaliation” in his charge. Attached hereto as Exhibit A, is a copy

   of that charge, which is incorporated herein by reference.

11. The EEOC issued Mr. Guisbert a Notice of Right to Sue dated June 27, 2019, which he

   received sometime thereafter.

12. All conditions precedent to the filing of this lawsuit have been performed or have occurred

   as required by Title VII, 42 U.S.C. § 2000e-5.

13. All conditions precedent to the filing of this lawsuit have been performed or have occurred

   as required by the ADEA, 29 U.S.C. §§ 626(d) and (e).

14. All conditions precedent to the filing of this lawsuit have been performed or have occurred

   as required by DCHRA.

15. At the times relevant to this Complaint, there existed work-sharing agreements between the

   Equal Employment Opportunity Commission (“EEOC”) and the District of Columbia Office

   of Human Rights (“DCOHR”) and state and federal law allow filing with one administrative

   agency to constitute filing with the other for the purposes of ultimately filing suit.




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                                              FACTS

16. Mr. Guisbert was employed by Defendant from on or about July 1983 until his employment

   was terminated on or about September 11, 2018. He performed his work duties at the

   Washington Convention Center.

17. In his more than 35 years on the job for Defendant, Mr. Guisbert had never been disciplined

   in any way.

18. Mr. Guisbert was originally hired as a licensed building engineer, but was demoted without

   cause to HVAC (heating, ventilation and air conditioning) technician in early 2018.

19. Mr. Guisbert, unlike other HVAC technicians, possesses a chlorofluorocarbons (“CFC”)

   license, which is federally mandated by the Clean Air Act to work as an HVAC technician.

20. Mr. Guisbert is a third class certified engineer, which is an advanced certification within his

   trade.

21. Following Mr. Guisbert’s demotion, three new building engineers were hired. All three

   were, at that time they were hired and still are, less than 40 years of age. Mr. Guisbert was

   61 years of age at the time of his demotion..

22. Upon information and belief, the new building engineers do not possess the required or

   preferred licenses to work as engineers.

23. Upon information and belief, the new building engineers have been paid a higher wage than

   Mr. Guisbert had been.

24. Mr. Guisbert, in early 2018 and in August 2018, spoke with Manager of Engineering Najib

   Mohammed concerning his demotion, as well as the fact that older workers were treated less

   favorably than younger workers and were being fired or forced to quit or retire.




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25. Mr. Guisbert also spoke to Eric Sidberry, his first-level supervisor, in approximately June

   2018 about mistreatment of and efforts to push out older workers, and that older workers

   were being fired or forced to quit.

26. Mr. Guisbert spoke to Frances Tarpley, another supervisor, about mistreatment of and

   efforts to fire or force older workers to retire or quit, in approximately July 2018.

27. In approximately July 2018, at a meeting with engineers, electricians, HVAC technicians, as

   well as Vice President of Facility Operations and Services Hootan Kaboli, Monica Bullock,

   Deputy Chief, Human Resources, and Mitsy Oratokhai, Chief People Officer, Mr. Guisbert

   again stated that older workers were being treated less favorably than younger workers and

   were being fired or forced to retire or quit.

28. Mr. Guisbert again raised his concerns about older workers being treated less favorably than

   younger workers and that older workers were being forced to retire or quit with Mr.

   Mohammed in approximately mid-August 2018; and yet again in approximately the last

   week of August 2018.

29. Mr. Guisbert’s employment with Defendant was terminated on September 11, 2018 for

   allegedly sleeping on the job. He was notified by Facilities Director Hootan Kaboli.

30. In approximately October or November 2018, an African American male known only as

   Malcolm, who was at time, and still is, less than 40 years of age (and at least 20 years

   younger than Mr. Guisbert),” was found sleeping in the Convention Center command

   center.

31. Malcolm was responsible for the same tasks and duties as Mr. Guisbert was.

32. Malcolm was frequently tardy and absent from work.

33. Malcolm, however, was never disciplined for tardiness, absence, or sleeping on the job.



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34. Supervisor Frances Tarpley sent Mr. Kaboli a copy of the photograph of Malcolm sleeping

   on the job.

35. Neither Mr. Kaboli, nor any other authorized person, terminated Malcolm’s employment or

   otherwise disciplined him. In fact, following his receipt of the photograph, Mr. Kaboli

   instructed employees that they were not to take photographs in the workplace.

                                     CAUSES OF ACTION

COUNT 1: DISCRIMINATION ON THE BASIS OF AGE IN VIOLATION OF THE AGE
       DISCRIMINATION IN EMPLOYMENT ACT, 29 U.S.C. § 621 et seq.

36. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

   paragraphs 16-35 as though each and every allegation is fully set forth herein.

37. At all times material to this Complaint, Plaintiff was a member of the class of persons

   protected by the ADEA prohibiting discrimination on the basis of age.

38. Based on is age Mr. Guisbert’s was terminated from his employment by Defendant.

39. As a direct and proximate result of the Defendant’s violation of the ADEA, Mr. Guisbert

   suffered, among other things, lost wages and earnings , lost benefits, and lost interest on

   wages and earnings, investment opportunities, and retirement benefits; mental anguish,

   anxiety, inconvenience, and humiliation.

40. Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

   declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

   position with the Defendant; award him back pay, to compensate him for lost benefits and

   otherwise make him whole; award him compensatory damages in an amount to be shown at

   trial; award him reimbursement of the attorneys’ fees and costs he has expended in bringing

   and litigating this matter; and grant him such other and further relief as justice may require.




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COUNT 2: DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF TITLE
           VII OF THE CIVIL RIGHTS ACT, 42 U.S.C. § 2000e, et seq.

41. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

   paragraphs 16-35 as though each and every allegation is fully set forth herein.

42. At all times material to this Complaint, Plaintiff was a member of the class of persons

   protected by Title VII prohibiting discrimination on the basis of race.

43. Mr. Guisbert was terminated in violation of Title VII based on his race.

44. As a direct and proximate result of the Defendant’s violation of Title VII, Mr. Guisbert

   suffered, among other things, lost wages, lost benefits, and lost interest on earnings,

   investment opportunities, and retirement benefits; mental anguish, anxiety, inconvenience,

   and humiliation.

45. Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

   declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

   position with the Defendant; award him back pay, to compensate him for lost benefits and

   otherwise make him whole; award him compensatory damages in an amount to be shown at

   trial; award him reimbursement of the attorneys’ fees and costs he has expended in bringing

   and litigating this matter; and grant him such other and further relief as justice may require.

  COUNT 3: DISCRIMINATION ON THE BASIS OF AGE IN VIOLATION OF D.C.
               HUMAN RIGHTS CODE, D.C. Code § 2-1402.11

46. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

   paragraphs 16-35, as though each and every allegation is fully set forth herein.

47. At all times material to this Complaint, Plaintiff was a member of the class of persons

   protected by DCHRA prohibiting discrimination on the basis of age.




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48. Mr. Guisbert’s employment was terminated in violation of the D.C. Human Rights Act

   because the decision to terminate him was based, in whole or in part, on his age.

49. As a direct and proximate result of the Defendant’s violation of the DCHRA, Mr. Guisbert

   suffered, among other things, lost wages, lost benefits, and lost interest on earnings,

   investment opportunities, and retirement benefits; mental anguish, anxiety, inconvenience,

   and humiliation.

50. Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

   declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

   position with the Defendant; award him back pay, to compensate him for lost benefits and

   otherwise make him whole; award him compensatory damages in an amount to be shown at

   trial; award him reimbursement of the attorneys’ fees and costs he has expended in bringing

   and litigating this matter; and grant him such other and further relief as justice may require.

 COUNT 4: DISCRIMINATION ON THE BASIS OF RACE IN VIOLATION OF D.C.
               HUMAN RIGHTS CODE, D.C. Code § 2-1402.11

51. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

   paragraphs 16-35 as though each and every allegation is fully set forth herein.

52. At all times material to this Complaint, Plaintiff was a member of the class of persons

   protected by DCHRA prohibiting discrimination on the basis of race.

53. Mr. Guisbert’s employment was terminated in violation of the D.C. Human Rights Act

   because the decision to terminate him was based, in whole or in part, on his race.

54. As a direct and proximate result of the Defendant’s violation of the DCHRA, Mr. Guisbert

   suffered, among other things, lost wages, lost benefits, and lost interest on earnings,

   investment opportunities, and retirement benefits; mental anguish, anxiety, inconvenience,

   and humiliation.

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55. Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

   declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

   position with the Defendant; award him back pay, to compensate him for lost benefits and

   otherwise make him whole; award him compensatory damages in an amount to be shown at

   trial; award him reimbursement of the attorneys’ fees and costs he has expended in bringing

   and litigating this matter; and grant him such other and further relief as justice may require.

 COUNT 5: RETAILIATION IN VIOLATION OF THE AGE DISCRIMINATION IN
                 EMPLOYMENT ACT, 29 U.S.C. § 623(d)

56. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

   paragraphs 16-35 as though each and every allegation is fully set forth herein.

57. Plaintiff engaged in protected activity within the meaning of the ADEA when he reported

   his concerns about the way older workers were treated and otherwise expressed his

   opposition to discrimination to Defendant’s managers and supervisors including

   Supervisors Mohammed, Sidberry and Tarpley, Director Kaboli, Deputy Chief of Human

   Resources Bullock,, and Chief People Officer Mitsy Oratokhai.

58. Plaintiff’s employment was terminated in violation of the ADEA because his termination

   was based on engaging in protected activity and/or his opposition to a practice(s) made

   unlawful by this Act.

59. As a direct and proximate result of the Defendant’s violation of the ADEA, Mr. Guisbert

   suffered, among other things, lost wages, lost benefits, and lost interest on earnings,

   investment opportunities, and retirement benefits; mental anguish, anxiety, inconvenience,

   and humiliation.

60. Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

   declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

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      position with the Defendant; award him back pay, to compensate him for lost benefits and

      otherwise make him whole; award him compensatory damages in an amount to be shown at

      trial; award him reimbursement of the attorneys’ fees and costs he has expended in bringing

      and litigating this matter; and grant him such other and further relief as justice may require.

           COUNT 6: RETAILIATION IN VIOLATION OF THE D.C. HUMAN RIGHTS
                              ACT, D.C. Code § 2-1402.11

61. Plaintiff re-alleges and incorporates the allegations set forth including, but not limited to,

      paragraphs 16-35 as though each and every allegation is fully set forth herein.

62. Plaintiff engaged in protected activity within the meaning of the DCHRA when he reported

      his concerns about the way older workers were treated and otherwise expressed his

      opposition to discrimination to Defendant’s managers and supervisors including

      Supervisors Mohammed, Sidberry and Tarpley, Director Kaboli, Deputy Chief of Human

      Resources Bullock,, and Chief People Officer Mitsy Oratokhai.

63. Plaintiff’s employment was terminated in violation of the DCHRA because his termination

      was in whole or in part based on engaging in protected activity and/or his opposition to a

      practice(s) made unlawful by this Act.

64. As a direct and proximate result of the Defendant’s violation of the DCHRA, Mr. Guisbert

      suffered, among others, lost wages, lost benefits, and lost interest on earnings, investment

      opportunities, and retirement benefits; mental anguish, anxiety, inconvenience, and

      humiliation.

65.     Mr. Guisbert prays this Court grant judgment in his favor against Defendant; grant him

declaratory and injunctive relief, including but not limited to reinstating Mr. Guisbert to his

position with the Defendant; award him back pay, to compensate him for lost benefits and

otherwise make him whole; award him compensatory damages in an amount to be shown at trial;

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award him reimbursement of the attorneys’ fees and costs he has expended in bringing and

litigating this matter; and grant him such other and further relief as justice may require.

                                         JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure Plaintiff demands a jury trial

as to all issues so triable.

                                                      Respectfully Submitted,

                                                      /s/ Thomas J. Gagliardo

                                                      D.C. Bar No. 192575

                                                      Attorney for the Plaintiff
                                                      Gilbert Employment Law, P.C.
                                                      1100 Wayne Ave., Ste. 900
                                                      Silver Spring, MD 201910
                                                      Tel.: (301) 608-0880; Fax: (301) 608-0881
                                                      tgagliardo-efile@gelawyer.com

Dated: February 5, 2020




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                             CHARGE OF DISCRIMINATION                                                                   Charge Presented To:                     Agency(ies)        Charge No(s):
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  Mr. Gorazalo Guisbert                                                                                                                                                                   1957
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  149 Southdown Road, Edgewater, MD 21037

  Named is the Employer, labor Organization, Employment Agency, Apprenticeship Committee. or Slate or.loc.al Government                                               Agency-That    I Believe
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  Nbrne

  WASHINGTON CONVENTION CENTER
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    I was hired by the above-named employer in July 1983, as a Building Engineer. In Septem er2018, I
    was accused of violating a company policy. On September 11, 2018. my employment was
    terminated.
                                                                                                                                                     ,.

   The Facilities Manager stated that I was allowed to resign in lieu of termination, however I id not                                                                                                ,
   resign. I am also aware of a black male that was accused of sleeping on the job and the individual
   was notterminated.

    I believe that my employment was terminated based on my race, age (60" and retaliation for
    participation in a protected a.ctivity. In violation of Title VII of the Civil Rights Act of 1964, as
    amended, and the Age Discrimination in employment Act of 1967, as amended.                                                                                                            ,


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   J deClare under penalty           of parjury I!'Iat the above 1$true and COmlct.
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          Apr 10,2019                                                                                         (monltl. d.Jy. .!"til)




                                                                                                                                                                            EXHIBIT A
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  PRIVACYACT STATEMENT: Under the Privacy Act of 1974. Pub. Law 93-579. authority to request
  personal data and its uses are:

  1.      FORM NUMBERITlTLelOATE.                      EEOC Form 5, Charge of Discrimination (11/09).

  2.      AUTHORITY.             42 U.S.C. 2000e-5(b), 29 U.S.C. 211. 29 U.S.C. 626, 42 U.S.C. 12117,42 U.S.C. 2000ff·6.

  3.    PRINCIPAL PURPOSES. The purposes of a charge, taken on this fonn or otherwise reduced to
  writing (whether later recorded on this form or not) are. as applicable under the EEOC anti-
  discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
  to Invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to b in
  state or local proceedings.

  4. ROUTINE USES. This form is used to provide facts that may establish the exIstence of matters
  covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
  given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
  determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
  or disclosed to other federal. state or local agencies as appropriate or necessary in carrying out
  EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
  against which the charge is made.

  S. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
  reduced to writing and shoula identify the charging and responding parties and the actions or
  policies complained of. Wrthout a written charge, EEOC will ordinarily not act on the com pi into
  Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by usi g this form
  or by presenting a' notarized statement or unsworn declaration under penalty of p(3rjury);ch rges
  under the ADEA should ordinarily be signed. Charges may'be clarified or amplified later by
  amendment. It is not mandatory that this form be used to make a charge.

                                       Nonce       OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REvIEW

  Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
  with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
  first handled by a FEPA under worksharing agreements. You will be told which agency will handle
  your charge. When the FEPA is the first to handle the charge, it will notify you of its final
  resolution of the matter. Then; if you wish EEOC to give Substantial Weight Review to the FEPA's
  final findings, you must ask us in writing to do so within 15 days of your receipt of Its findings. .
  Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

                                                   NOTICE OF NON-RETALIATION REQUIREMENTS

  Please notify EEOC or the state or local agency where you filed your charge if retaliation is
  taken against you or others who oppose discrimination or cooperate in any investigation or
  lawsuit concerning this charge: Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
  Section 503(a) of the ADA and Section 207(f) of GINA. it Is unlawful for an employer to
  discriminate against present or fonner employees or job applicants, for·an employment agency to
  discriminate against anyone, or for a union to discriminate against Its members or member hip
  applicants, because they have opposed any practice made unlawful by the statutes. or bee us~
  they have made a charge, testified, assisted, or participated in any manner in an investigation,
  proceeding. or hearing under the laws. The Equal Pay Act has similar provisions and Section
  503(b) of the ADA prohibits coercion, intimidation. threats or interference with anyone for
  exercising or enjoying. or aiding or encouraging other~ In their exercise or enjoyment of, rights
  under the Act.




                                                                                                               EXHIBIT A
        Case 1:19-cv-02838-TSC Document 8 Filed 02/05/20 Page 14 of 14




                              CERTIFICATE OF SERVICE
This is to certify that on the 5th day of FEBRUARY 2020 a copy of the foregoing First Amended
Complaint was sent via this Court’s ECF system to:
Jocelyn R. Cuttino
Attorney for Defendant Washington Convention and Sports Authority



                                                   /s/
                                           Sam Disario, Paralegal
                                           Gilbert Employment Law, P.C.
                                           1100 Wayne Avenue, Suite 900
                                           Silver Spring, MD 20910
                                           Tel: (301) 608-0880
                                           Fax: (301) 608-0881
